Case 1:19-cv-02139-RM-KMT Document 67 Filed 11/15/21 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore

  Civil Action No. 19-cv-02139-RM-KMT

  UNITED PRESBYTERIAN CHURCH CANON CITY,

         Plaintiff,

  v.

  BROTHERHOOD MUTUAL INSURANCE COMPANY,

        Defendant.
  ______________________________________________________________________________

   ORDER ON JOINT MOTION FOR DISBURSEMENT OF FUNDS HELD IN COURT’S
         REGISTRY AND STIPULATION FOR DISMISSAL WITH PREJUDICE
  ______________________________________________________________________________

         This matter is before the Parties’ Joint Motion for Disbursement of Funds Held in Court’s

  Registry and Stipulation of Dismissal with Prejudice. (ECF No. 63.) The Parties seek the

  release of funds in the amount of $227,740.78 deposited by Defendant Brotherhood Mutual

  Insurance Company into the Court Registry on March 24, 2021. (ECF Nos. 45 and 46.)

  Pursuant to C.C.COLO.LCivR 67.2 and Court’s Order, the Parties have each now filed the

  required IRS Form W-9. Being otherwise fully advised, the Court ORDERS as follows:

         (1) That the Joint Motion for Disbursement of Funds Held in Court’s Registry (ECF No.

             63) is GRANTED;

         (2) That the Clerk of the Court shall issue a check drawn on the Court Registry in the

             amount of $30,000.00 plus 13% of any accrued interest, made payable to “United

             Presbyterian Church Canon City dba the Village.” The check shall be mailed to

             Plaintiff’s counsel: McClenny Moseley & Associates, PLLC, 516 Heights Boulevard,
Case 1:19-cv-02139-RM-KMT Document 67 Filed 11/15/21 USDC Colorado Page 2 of 2




          Houston, Texas 77007; and

       (3) That the Clerk of the Court shall issue a check drawn on the Court Registry in the

          amount of $197,740.78, plus 87% of any accrued interest, made payable to

          “Brotherhood Mutual Insurance Company.” The check’s stub shall include the

          reference “Policy Number 418994.” The check shall be mailed to Defendant:

          Brotherhood Mutual Insurance Company, c/o Cori Cable, 6400 Brotherhood Way,

          P.O. Box 2228, Fort Wayne, Indiana 46801.

       (4) Pursuant to the parties’ Stipulation for Dismissal with Prejudice (ECF No. 63), the

          Court hereby dismisses each of the Plaintiff’s claims with prejudice, with each party

          to bear their own costs and attorneys’ fees, thereby fully concluding and closing this

          action. Said dismissal of claims and this action with prejudice is effective upon the

          disbursement of funds as ordered herein.

       (5) That the Clerk shall close this case.

       DATED this 15th day of November, 2021.

                                                       BY THE COURT:



                                                       ____________________________________
                                                       RAYMOND P. MOORE
                                                       United States District Judge




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